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 1   [Submitting Counsel on Signature Page]
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 7
                                   IN THE UNITED STATES DISTRICT COURT
 8
                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10    People of the State of California, et al.                   MDL No. 3047
          v.
11                                                                Case No.: 4:23-cv-05448-YGR
      Meta Platforms, Inc., Instagram, LLC, Meta
12    Payments, Inc., Meta Platforms Technologies,
      LLC                                                         STATE ATTORNEYS GENERAL’S
13
      ----------------------------------------------------        ADMINISTRATIVE MOTION FOR
14                                                                LEAVE TO FILE SUPPLEMENTAL
      IN RE: SOCIAL MEDIA ADOLESCENT                              INFORMATION
15    ADDICTION/PERSONAL INJURY PRODUCTS
      LIABILITY LITIGATION
16                                                                Judge: Hon. Yvonne Gonzalez Rogers
      THIS DOCUMENT RELATES TO:
17    4:23-cv-05448.
                                                                  Magistrate Judge: Hon. Peter H. Kang
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               Under Civil Local Rule 7-11 and 7-3(d), the State Attorneys General (“State AGs”) submit this
21
     Administrative Motion for Leave to File Supplemental Information to bring to the Court’s attention
22
     relevant events occurring since the State AGs and Meta Platforms, Inc.; Instagram, LLC; Meta Payments,
23
     Inc.; and Meta Platforms Technologies, LLC (“Meta”) submitted their Joint Statement and Joint
24
     Supplemental Letter Brief Regarding State Agency Discovery, see Dkt. Nos. 685, 738, and since the
25
     Court heard oral argument on March 21, 2024 and May 6, 2024.
26
               Attached as Exhibit A is Meta’s July 17, 2024 Notice of Intent to Serve Subpoenas, along with
27
     copies of subpoenas directed at the California Department of Child Support Services; the California
28
               STATE ATTORNEYS GENERAL’S ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
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 1   Department of Education; the California Mental Health Services Oversight and Accountability
 2   Commission; the Colorado Behavioral Health Administration; the Colorado Department of Education; the
 3   Kentucky Department for Behavioral Health, Developmental and Intellectual Disabilities; the Kentucky
 4   Department of Education; the New Jersey Department of Education; the New Jersey Department of
 5   Health; and the New Jersey Governor’s Council on Mental Health Stigma.
 6          Attached as Exhibit B is Meta’s July 23, 2024 Notice of Intent to Serve Subpoenas, along with
 7   copies of subpoenas directed at the Georgia Department of Behavioral Health and Developmental
 8   Disabilities, the Georgia Department of Education, the Maine Department of Education, the Maine
 9   Department of Health & Human Services, the Maryland Center for School Safety, and the Maryland
10   Department of Human Services.
11          Attached as Exhibit C is Meta’s July 24, 2024 Notice of Intent to Serve Subpoenas, along with
12   copies of subpoenas directed at the Arizona Department of Child Safety, the Arizona Department of
13   Education, the Arizona Department of Health Services, the Idaho Department of Education, the Idaho
14   Health & Welfare Department, the Indiana Commission on Improving the Status of Children, the Indiana
15   Department of Education, the Indiana Department of Health, the Louisiana Department of Education, and
16   the Louisiana Department of Health.
17          The State AGs seek to provide the supplemental information attached as Exhibits A, B, and C to
18   ensure a complete and accurate record. Meta previously identified each of the twenty-six entities noted
19   above as entities encompassed in the dispute regarding state agency discovery. See Dkt. 738-1.
20          The State AGs have consulted with counsel for Meta, which opposes the State AGs’ filing of this
21   Motion and may file an Opposition pursuant to Local Rule 7-11(b).
22
      DATED: July 24, 2024                                   Respectfully submitted,
23

24                                                           PHILIP J. WEISER
                                                             Attorney General
25                                                           State of Colorado

26                                                           /s/ Bianca E. Miyata
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             STATE ATTORNEYS GENERAL’S ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
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      STATE ATTORNEYS GENERAL’S ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
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      STATE ATTORNEYS GENERAL’S ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
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 1                                              ATTESTATION
 2
            I, Megan O’Neill, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence to
 3
     the filing of this document has been obtained from each signatory hereto.
 4

 5    DATED: July 24, 2024
 6

 7                                                           /s/ Megan O’Neill
                                                             MEGAN O’NEILL
 8                                                           Deputy Attorney General
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